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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

SHIRLEY BROWN                                                                          PLAINTIFF

v.                                                 CIVIL ACTION NO.: 3:24-cv-556-TSL-MTP

THE CITY OF JACKSON, MISSISSIPPI, et al.                                           DEFENDANTS

                             ORDER AND NOTICE TO PLAINTIFF

          THIS MATTER is before the Court sua sponte for case management purposes for

Plaintiff Shirley Brown’s failure to prosecute this action against Defendant Alpha Phi Alpha

Fraternity, Delta Phi Chapter (“the Fraternity”). Plaintiff filed her Complaint [1] on September

17, 2024, against numerous Defendants, including the Fraternity. On January 2, 2025, Plaintiff

filed an Amended Complaint [15] against many of the same Defendants, including the Fraternity,

but she also added two new Defendants and removed others. To date, however, Plaintiff has not

filed proof of service for the Fraternity, and it has not answered or otherwise appeared in this

matter.

          “If a defendant is not served within 90 days after the complaint is filed, the court—on

motion or on its own after notice to the plaintiff—must dismiss the action without prejudice

against that defendant or order that service be made within a specified time.” Fed. R. Civ. P.

4(m). Notably, “the [90]-day period provided by Rule 4(m) is not restarted by the filing of an

amended complaint except as to those defendants newly added in the amended complaint.”1 Fox

v. United States, 2012 WL 639915, at *1 (S.D. Miss. Feb. 27, 2012) (emphasis added).




1
  “Filing an amended complaint does not toll the Rule 4(m) service period and thereby provide
an additional 90 days for service. However, adding a new party through an amended complaint
initiates a new timetable for service upon the added defendant.” Callier v. Jascott Enters., LLC,
                                                   1
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       In this case, the Fraternity is not a defendant “newly added” in the Amended Complaint

[15], so the ninety (90)-day deadline for serving the Fraternity has expired.

       IT IS, THEREFORE, ORDERED that if service of process is not served on Defendant

Alpha Phi Alpha Fraternity, Delta Phi Chapter and proof thereof filed with the Court by January

21, 2025, or the Court does not extend the time for service based upon a showing of good cause,

this Defendant may be dismissed without prejudice and without further notice. See Fed. R. Civ.

P. 4(m).

       SO ORDERED, this the 6th day of January, 2025.

                                              s/Michael T. Parker
                                              United States Magistrate Judge




2023 WL 7450433, at *3 (W.D. Tex. Oct. 3, 2023) (quoting 4B Wright & Miller, Federal
Practice and Procedure § 1137 (4th ed.) (emphasis added)).

                                                 2
